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     LAW OFFICES OF CHRIS COSCA
 1   CHRIS COSCA     SBN 144546
     1007 7th Street, Suite 210
 2   Sacramento, CA 95814
     (916) 440-1010
 3
     Attorney for Defendant
 4   JOSE ENRIQUE VELARDES ZAZUETA
 5
 6                          UNITED STATES DISTRICT COURT
 7                         EASTERN DISTRICT OF CALIFORNIA
 8
                                                   )   No. 2:013-CR-00227 GEB
 9   UNITED STATES OF AMERICA,                     )
                                                   )   STIPULATION AND
10               Plaintiff,                        )   [PROPOSED] ORDER TO
                                                   )   CONTINUE JUDGMENT AND
11        vs.                                      )
     JOSE ENRIQUE VELARDES ZAZUETA,                )   SENTENCE
12                                                 )
                                                   )
13                                                 )
                 Defendant.
14
15
                                         Stipulation
16
17         The parties, through their undersigned counsel, stipulate

18   that the sentencing hearing currently scheduled for June 26,
19   2015 may be continued to July 10, 2015 at 9:00 a.m. Defense
20   counsel requires additional time to prepare and develop facts
21
     relevant to judgment and sentencing herein. Probation Officer
22
     Paul Mamaril consents to this request.
23
     DATED: June 2, 2015                    By:   /s/ Chris Cosca     ___
24
                                                  Chris Cosca
25                                                Attorney for Defendant
                                                  JOSE ENRIQUE VELARDES ZAZUETA
26
     DATED: June 2, 2015                    By:   /s/ Chris Cosca for____
27                                                Todd Pickles
28                                                Assistant U. S. Attorney


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 1                                       ORDER
 2         Good cause appearing,
 3
           The sentencing hearing currently scheduled for June 26,
 4
     2015 is continued to July 10, 2015 at 9:00 a.m.
 5
           Dated:    June 3, 2015
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